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     UNITED STATES DISTRJCT COURT
     EASTERN DISTRlCT OF NEW YORK


     UNITED STATES OF AMERJCA                                   Case No. 10 Cr 433


                   v.                                            ORDER

     JONATHAN BRAUN

                              Defendant
     -------------------------------------·X
       I. Whereas, the defendant Jonathan Braun is charged in an Indictment No. 10 Cr.

           433 which is currently pending before this Court charging a violation of 18 U.S.C.

          952 (a), 960 (a)(l) and related counts and;

       2. Whereas, on or about Nov. 10, 2011 defendant was released from custody

          pursuant to an Order Setting Conditions of Release and Bond ["The Bond"] dated

          Nov. 10, 2011 which was issued by Magistrate Judge Victor Pohorelsky and

          approved by this Court, and

       3. Whereas, the bond amount is Eight Million ($8,000,000) Dollars and said amount

          being secured by various properties against which liens have been filed in order to

          secure said properties to the benefit of the United States of America, and

       4. Whereas, one of those properties is located at 239 Prospect Place, Brooklyn, New

          York, 11238 and is owned by Joseph Streicher who is also a co-signer [No. 10] on

          the Bond and,
5. Whereas, Joseph Streicher wishes to withdraw said property as security for the

     Bond and,

6. Whereas, Joseph Streicher wishes to substitute an additional property which is

     located at 1865 53rd St. Brooklyn, N.Y. 11204 which is his residence as security

     for the bond and;

7. Whereas, said property presently has an equitable value of approximately One

     Million Five Hundred Thousand [$1,500,000] Dollars and;

8. Whereas, Joseph Streicher has executed a Confession of Judgment in an amount

     of Eight Million [$8,000,000] Dollars running in favor of the United States of

     America as against said property which judgment becoming operable when and if

     defendant shall fail to appear before the Court for any required appearance and;

9.    Whereas said Confession of Judgment was filed on August 16, 2012 in the Office

     of the County Clerk, Brooklyn, New York and a copy of same is attached to this

     Order and;

10. Whereas this Court has previously required as a condition of the execution of this

     Order the filing of affidavits by all co-signatories to the bond stating their consent

     to said property substitution and;

II. Whereas pursuant to said direction of the Court a filing of all said affidavits

     having being filed with this Court on August 15, 2012 and;

I 2. Whereas the Office of the United States Attorney has agreed to the substitution of

     properties as described herein it is hereby,
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     13. ORDERED that the property located at 239 Prospect Place Brooklyn, New York

        11238 be released as security for the Bond and that all liens whether in the form

        of a confession of judgment or mortgage or otherwise and which are presently

        lodged against said property and running in favor of the United States be and

        hereby are deemed as satisfied such that no lien running in favor of the United

        States shall remain as against said property, and it is hereby

     14. ORDERED that the property located at 1865 53'd St., Brooklyn, New York

        11204 be substituted as security for said bond.



                                        s/ SLT

                              1~ Hon. San aL. Townes, U.S.D.J.
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                      X 245-Confession of Judgment. Ind. or Corp. Blank Court.                                                         •:;\A.Inc., Pt.IBL.ISHER,NYC 10013
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        SUPREME COURT
  COUNTY OF KINGS

       UNITED STATES OF AMERICA

                                                                                               Plaintiff( s.                        · '~'FIDA VIT OF
                                                         against                                                                   . JNFESSION OF
                                                                                                                                      JUDGMENT

                                                                                             Defendant(s_:

 STATE OF NEW YORK, COUNTY OF KINGS
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       Defendant resides at                      1865 53rd Street Brooklyn, 11
 intheCountyof Kings                                       Stateof New York                                                         ·endant authorizes entry
 of judgment in
                                                                        County, New York, if said resic:-                          is not in New York State.

           This confession of judgment is for a debt justly 4 to become                                                            :he plaintiff an'sing from
 the following facts:
      If and when the United States District Cour•                                                                                 Eastern
 District of New York shall issue an order forfeir                                                                                bond and
 the properties securing said bond in the case of                                                                                '~tates of
 America v. Jonathan Braun case no.10 cr 433 (SLT


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      This affidavit, if made in connection with an agreement for the pure'                                                   · 1,500.00 or less of any com-
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     COUNTY OF                   KINGS
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                                                                                                                                 Address of Plaintiff:
         UNITED STATES                                                                                                    US District Courthouse
                                                                                            Plaintiff(s)                  225 Cadman Plaza East
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         JOSEPH STREICH:                                                                                                  Brooklyn, NY 11201
                                                                                          Defendant( s)                                JUDGMENT BY
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     STATE OF NEW YOC                             T'Y OF KINGS                            ATTORNEY'S AFFIRMATION
         The undersigned, ,                        •w of the State of New York, affirms that   be is

     attorney(s) of record lo.                    ;··t        herein and states that the disbursements above sp ified are correct
     and true and have been r.                     ·3rily be made or incutTed herein and are reasonable i'n a o nt and affirms
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           On filing the fore-·                     ·t of Confession of Judgment made by the del                                                   herein, sworn to
     the               day ci
           NOW, ON MOT:                              ted States Attorney Eastern District of New York
     attorney(s) for plaintili
           ADJUDGED th<                            .ed States of America
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  do recover of               Joseph
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